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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA


DR. BRIAN SALVATORE
1B                                  * CIVIL ACTION NO. 3:24-CV-270
                                    *
VERSUS
17B                                 *
                                    * JUDGE BRIAN A. JACKSON
                                                           2B




DR. ROBERT SMITH IN HIS OFFICIAL    *
CAPACITY AS CHANCELLOR OF           *
LOUISIANA STATE UNIVERSITY (“LSUS”) *
AND MR. CARLTON (TREY) JONES        *
IN HIS OFFICIAL CAPACITY AS DEPUTY *
GENERAL COUNSEL FOR THE             *
LSU BOARD OF SUPERVISORS            *
                                    * MAG. J. RICHARD L. BOURGEOIS

****************************************************
   MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                         INJUNCTION

             The motion of Dr. Brian Salvatore, through undersigned counsel, respectfully represents

as follows.

                                                      1.

             On April 4, 2024, the Plaintiff filed a Verified Complaint for Declaratory Relief, Injunctive

      Relief, and Temporary Restraining Order. (Doc. 1).

                                                      2.

             All allegations of the Verified Complaint for the Declaratory Relief, Injunctive Relief, and

      Temporary Restraining Order are hereby expressly incorporated herein by reference.

                                                      3.

             On the morning of April 5, 2024, counsel for Plaintiff, Dr. Brian Salvatore, e-mailed a copy

      of the Verified Complaint for Declaratory Relief, Injunctive Relief, and Temporary Restraining

      Order to Mr. Carlton (“Trey”) Jones, Deputy General Counsel for the LSU Board of Supervisors.
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       WHEREFORE, the Plaintiff, Dr. Brian Salvatore, respectfully prays that his motion for

temporarily restraining order be granted.

                                                      Respectfully submitted:

                                                      s/ J. Arthur Smith, III____________
                                                      J. ARTHUR SMITH, III (Bar No. 07730)
                                                      830 North Street
                                                      Baton Rouge, Louisiana 70802
                                                      Telephone: (225) 383-7716
                                                      Facsimile: (225) 383-7773
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                                                      s/ Mike Jefferson
                                                     MICHAEL J. JEFFERSON
                                                     ATTORNEY AT LAW
                                                     La. Bar Roll No. 22430
                                                     P.O. Box 1906
                                                     Baton Rouge, LA 70821-1906
                                                     mjefferson@mjjefferson.com

                                                      Attorneys for Plaintiff
                                                      Dr. Brian Salvatore


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the above and foregoing has this day been electronically filed
with the Clerk of Court for the U.S. District Court, Middle District of Louisiana and that a copy of
same has been served upon all counsel of record via automatic operation of the Court’s ECF/ECM
electronic filing system.

       Baton Rouge, Louisiana this 5th day of April, 2024.

                                      /s/ J. Arthur Smith, III
                                        J. Arthur Smith, III




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